Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                           Affidavit Page 1 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                           Affidavit Page 2 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                           Affidavit Page 3 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                           Affidavit Page 4 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                           Affidavit Page 5 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                           Affidavit Page 6 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                           Affidavit Page 7 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                           Affidavit Page 8 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                           Affidavit Page 9 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 10 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 11 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 12 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 13 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 14 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 15 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 16 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 17 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 18 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 19 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 20 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 21 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 22 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 23 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 24 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 25 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 26 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 27 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 28 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 29 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 30 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 31 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 32 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 33 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 34 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 35 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 36 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 37 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 38 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 39 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 40 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 41 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 42 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 43 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 44 of 45
Case 08-14631-GMB   Doc 631-2 Filed 09/05/08 Entered 09/05/08 17:01:28   Desc
                          Affidavit Page 45 of 45
